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Case 14-50333-gs Doc176 Entered 08/19/14 13:06:56 Page 1of4

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Nevada Bar No. 1449

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Email: mail@asmithlaw.com

Attorney for Debtors/Defendants
ANTHONY THOMAS and WENDI

THOMAS
UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEVADA
—oo0000—
In Re: Case No. BK-N-14-50333-BTB
Case No. BK-N-14-50331-BTB
ANTHONY THOMAS and
WENDI THOMAS, Chapter 11 Cases

[Jointly Administered]
AT EMERALD, LLC,

Debtors,

 

Adv. Pro. No. 14-05022
KENMARK VENTURES, LLC,

Plaintiff, NOTICE OF ENTRY OF ORDER
SHORTENING TIME FOR NOTICE
vs. AND HEARING ON MOTION TO
WITHDRAW AS ATTORNEY OF
ANTHONY THOMAS and WENDI RECORD
THOMAS,

Defendants. Hearing Date: August 22, 2014
/ Hearing Time: 2:00 p.m.

 

PLEASE TAKE NOTICE that the above-entitled Court entered an Order Shortening
Time For Notice And Hearing On Motion To Withdraw As Attorney Of Record [DE 17] on
the 19" day of August, 2014 (“Order”). A copy of said Order is attached hereto as Exhibit

“A” and made a part hereof.

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Case 14-50333-gs Doc176 Entered 08/19/14 13:06:56 Page 2 of 4

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DATED this 19" day of August, 2014.
LAW OFFICES OF ALAN R. SMITH
By: /s/ Alan R. Smith

ALAN R. SMITH, ESQ.
Attorney for Debtors

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Case 14-50333-gs Doc176 Entered 08/19/14 13:06:56 Page 3 of 4

 

 

 

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Case 14-05022-btb Doc1i7 Entered 08/19/14 10:24:53 Page 1 of 2
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3 Honorable Bruce T. Beesley
United States Bankruptcy Judge
Expored on Docket
Aigust 19, 2014
6 || ALAN R. SMITH, ESQ.
Nevada Bar No. 1449
7 | HOLLY E. ESTES, ESQ.
Nevada Bar No. 11797
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Attorney for Debtors/Defendants
12 || ANTHONY THOMAS and WENDI THOMAS
13
14 UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEVADA
15
16 || In Re: Case No. BK-N-14-50333-BTB
Case No. BK-N-14-50331-BTB
17 | ANTHONY THOMAS and
WENDI THOMAS, Chapter 11 Cases
18
[Jointly Administered]
19 | AT EMERALD, LLC,
20
21
Debtors,
22 /
Adv. Pro. No. 14-05022
23 | KENMARK VENTURES, LLC,
24 Plaintiff, ORDER SHORTENING TIME FOR
NOTICE AND HEARING ON
25 || vs. MOTION TO WITHDRAW AS
ATTORNEY OF RECORD
26 | ANTHONY THOMAS and WENDI
THOMAS,
27 Hearing Date: OST Pending
Defendants. ) Hearing Time: OST Pending
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Case 14-50333-gs Doc176 Entered 08/19/14 13:06:56 Page 4 of 4
Case 14-05022-btb Doc17 Entered 08/19/14 10:24:53 Page 2 of 2

The Court having considered the Movants’s ex parte Motion For Order Shortening
Time For Notice And Hearing On Debtor’s Motion To Withdraw As Attorney Of Record,
and good cause appearing therefor, it is hereby

ORDERED that the Motion For Order Shortening Time is granted, and the hearing
to consider approval of the Motion To Withdraw As Attorney Of Record shall be conducted
on August 22 » 2014 at_2:00 p.m. Any opposition may be

filed and served upon Debtors’ attorney by facsimile, email or personal delivery no later than

 

12:00 Noon, August 21 , 2014. Replies may
shall be considered at the hearing. »8&k2. Service of this Order Shortening Time For Notice

 

And Hearing On Debtor’s Motion To Withdraw As Attorney Of Record shall be completed
by August 19 , 2014,
PREPARED AND SUBMITTED BY:
LAW OFFICES OF ALAN R. SMITH
By: /s/ Alan R. Smith
ALAN R. SMITH, ESQ.
Attorney for Debtors

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